                      Case 18-11780-BLS   Doc 3   Filed 08/02/18   Page 1 of 14



                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


         In re:                                          Chapter 11

         BROOKSTONE HOLDINGS CORP.,                      Case No. 18-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         BROOKSTONE, INC.,                               Case No. 18-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         BROOKSTONE COMPANY, INC.,                       Case No. 18-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         BROOKSTONE RETAIL PUERTO RICO, INC.,            Case No. 18-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         BROOKSTONE INTERNATIONAL HOLDINGS,              Case No. 18-_____ (___)
         INC.,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


01:23475989.1
                      Case 18-11780-BLS   Doc 3       Filed 08/02/18   Page 2 of 14




         In re:                                              Chapter 11

         BROOKSTONE PURCHASING, INC.,                        Case No. 18-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                              Chapter 11

         BROOKSTONE STORES, INC.,                            Case No. 18-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                              Chapter 11

         BIG BLUE AUDIO LLC,                                 Case No. 18-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                              Chapter 11

         BROOKSTONE HOLDINGS, INC.,                          Case No. 18-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                              Chapter 11

         BROOKSTONE PROPERTIES, INC.,                        Case No. 18-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




01:23475989.1



                                                  2
                        Case 18-11780-BLS          Doc 3       Filed 08/02/18   Page 3 of 14



                DEBTORS’ MOTION FOR ENTRY OF AN ORDER DIRECTING THE JOINT
                     ADMINISTRATION OF THE DEBTORS’ CHAPTER 11 CASES

                 Brookstone Holdings Corp. and its affiliated debtors and debtors in possession in the

         above-captioned chapter 11 cases (collectively, the “Debtors”) hereby move the Court (this

         “Motion”) for the entry of an order, substantially in the form attached hereto as Exhibit A,

         directing the joint administration of the Debtors’ chapter 11 cases. In support of this Motion, the

         Debtors submit the Declaration of Greg Tribou in Support of the Debtors’ Chapter 11 Petitions

         and Requests for First Day Relief (the “First Day Declaration”), filed substantially

         contemporaneous herewith. In further support of this Motion, the Debtors respectfully state as

         follows:

                                          JURISDICTION AND VENUE

                 1.     The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1334(b) and

         157 and the Amended Standing Order of Reference from the United States District Court for the

         District of Delaware dated as of February 29, 2012. This is a core proceeding pursuant to

         28 U.S.C. § 157(b), and pursuant to Rule 9013-1(f) of the Local Rules of Bankruptcy Practice

         and Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local

         Rules”), the Debtors consent to the entry of a final order by the Court in connection with this

         Motion to the extent that it is later determined that the Court, absent consent of the parties,

         cannot enter final orders or judgments in connection herewith consistent with Article III of the

         United States Constitution. Venue is proper before the Court pursuant to 28 U.S.C. §§ 1408 and

         1409. The statutory and legal predicates for the relief requested herein are section 105(a) of title

         11 of the United States Code (the “Bankruptcy Code”), Rule 1015(b) of the Federal Rules of

         Bankruptcy Procedure (the “Bankruptcy Rules”), and Local Rules 1015-1 and 9013-1(m).



01:23475989.1



                                                           3
                            Case 18-11780-BLS              Doc 3        Filed 08/02/18      Page 4 of 14



                                                          BACKGROUND

                   2.       On the date hereof (the “Petition Date”), each of the Debtors commenced a

         voluntary case under chapter 11 of the Bankruptcy Code (collectively, the “Chapter 11 Cases”).

         Pursuant to sections 1107(a) and 1108 of the Bankruptcy Code, the Debtors are continuing to

         manage their financial affairs as debtors in possession. No trustee, examiner, or official

         committee of unsecured creditors has been appointed in the Chapter 11 Cases.

                   3.       Additional information regarding the Debtors’ history and business operations,

         capital structure and primary secured indebtedness, and the events leading up to the

         commencement of the Chapter 11 Cases can be found in the First Day Declaration.1

                                                      RELIEF REQUESTED

                   4.       By this Motion, the Debtors seek an order, pursuant to section 105(a) of the

         Bankruptcy Code, Bankruptcy Rule 1015(b), and Local Rules 1015-1 and 9013-1(m), directing

         the joint administration of the Chapter 11 Cases for procedural purposes only. Specifically, the

         Debtors request that the Clerk of the United States Bankruptcy Court for the District of Delaware

         (the “Clerk of the Court”) maintain one file and one docket for all of the jointly administered

         cases under the case number of Brookstone Holdings Corp. and that the Clerk of the Court

         administer the cases under a consolidated caption, as follows:




         1
             All capitalized terms used and not defined herein shall have the meanings ascribed to them in the First Day
             Declaration.
01:23475989.1



                                                                    4
                          Case 18-11780-BLS             Doc 3        Filed 08/02/18      Page 5 of 14



                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE


         In re:                                                              Chapter 11

         BROOKSTONE HOLDINGS CORP., et al.,1                                 Case No. 18-_____ (___)

                                   Debtors.                                  (Jointly Administered)

         1
                  The Debtors, along with the last four digits of each Debtor’s tax identification number, are: Brookstone
         Holdings Corp. (4638), Brookstone, Inc. (2895), Brookstone Company, Inc. (3478), Brookstone Retail Puerto Rico,
         Inc. (5552), Brookstone International Holdings, Inc. (8382), Brookstone Purchasing, Inc. (2514), Brookstone Stores,
         Inc. (2513), Big Blue Audio LLC (N/A), Brookstone Holdings, Inc. (2515), and Brookstone Properties, Inc. (2517).
         The Debtors’ corporate headquarters and the mailing address for each Debtor is One Innovation Way, Merrimack,
         NH 03054.

                  5.      In addition, the Debtors request that a docket entry, substantially similar to the

         following, be made on the docket of each of the Debtors’ Chapter 11 Cases (except that of

         Brookstone Holdings Corp.):

                          An order has been entered in this case directing the procedural
                          consolidation and joint administration of the chapter 11 cases of
                          Brookstone Holdings Corp. (4638), Brookstone, Inc. (2895),
                          Brookstone Company, Inc. (3478), Brookstone Retail Puerto Rico,
                          Inc. (5552), Brookstone International Holdings, Inc. (8382),
                          Brookstone Purchasing, Inc. (2514), Brookstone Stores, Inc.
                          (2513), Big Blue Audio LLC (N/A), Brookstone Holdings, Inc.
                          (2515), and Brookstone Properties, Inc. (2517). The docket in the
                          chapter 11 case of Brookstone Holdings Corp., Case No.
                          18-_____ (___), should be consulted for all matters affecting
                          this case.

                                                    BASIS FOR RELIEF

                  6.      Pursuant to Bankruptcy Rule 1015(b), if two or more petitions are pending in the

         same court by or against a debtor and an affiliate, “the court may order a joint administration of

         the estates.” Fed R. Bankr. P. 1015(b). Section 105(a) of the Bankruptcy Code also provides the

         Court with the power to “issue any order, process, or judgment that is necessary or appropriate to

         carry out the provisions of [the Bankruptcy Code].” Further, Local Rule 1015-1 provides

01:23475989.1



                                                                 5
                         Case 18-11780-BLS          Doc 3       Filed 08/02/18    Page 6 of 14



         additional authority for the Court to order joint administration of chapter 11 cases upon the filing

         of a motion supported by a declaration establishing that joint administration of two or more

         pending cases will ease the administrative burden of the Court and the parties.

                 7.      As set forth in the First Day Declaration, the Debtors’ operations are

         interconnected and co-dependent, and share many of the same creditors and other parties in

         interest. Given the commercial and corporate relationships among the Debtors, joint

         administration of the Chapter 11 Cases will provide administrative convenience without harming

         the substantive rights of any party in interest. Many of the motions, hearings, and orders that

         will arise in the Chapter 11 Cases will affect each and every Debtor. Thus, the entry of an order

         directing joint administration of these cases will reduce fees and costs by, for example, avoiding

         duplicative filings and objections. Moreover, joint administration will also simplify supervision

         of the administrative aspects of these cases by the Office of the United States Trustee for the

         District of Delaware and allow all parties in interest to monitor the Chapter 11 Cases with greater

         ease and efficiency.

                 8.      Joint administration of the Chapter 11 Cases will not prejudice or adversely affect

         the rights of the Debtors’ creditors, because the Debtors seek only administrative, not

         substantive, consolidation of their estates. Parties in interest will not be harmed by the relief

         requested, but, instead, will benefit from the cost reductions associated with the joint

         administration of these cases.

                 9.      For these reasons, the Debtors respectfully submit that the joint administration of

         these cases is appropriate and is in the best interests of the Debtors, their estates, their creditors,

         and all other parties in interest, and therefore this Motion should be granted.




01:23475989.1



                                                            6
                        Case 18-11780-BLS         Doc 3       Filed 08/02/18   Page 7 of 14



                                                      NOTICE

                10.     The Debtors have provided notice of this Motion to: (a) the Office of the United

         States Trustee for the District of Delaware; (b) holders of the 30 largest unsecured claims on a

         consolidated basis against the Debtors; (c) counsel to Wells Fargo Bank, National Association in

         its capacity as Agent under the Credit Agreement, dated as July 7, 2014; (d) counsel to Gordon

         Brothers Finance Company, in its capacity as Term Loan Lender under the Term Note dated

         June 3, 2015; (e) counsel to Wilmington Trust, National Association, in its capacity as Trustee

         under the Indenture dated as of July 7, 2014; (f) counsel to Sanpower (Hong Kong) Company

         Limited as Lender under certain secured and unsecured notes; and (g) all parties that have filed a

         notice of appearance and request for service of papers pursuant to Bankruptcy Rule 2002. Notice

         of this Motion and any order entered hereon will be served in accordance with Local Rule 9013-

         1(m). In light of the nature of the relief requested herein, the Debtors submit that no other or

         further notice is necessary.



                                    [Remainder of page intentionally left blank]




01:23475989.1



                                                          7
                          Case 18-11780-BLS        Doc 3       Filed 08/02/18   Page 8 of 14



                   WHEREFORE, for the reasons set forth herein, the Debtors respectfully request that the

         Court (a) enter an order, substantially in the form attached hereto as Exhibit A, directing the joint

         administration of the Chapter 11 Cases, and (b) grant such other and further relief as is just and

         proper.

         Dated:      August 2, 2018
                     Wilmington, Delaware         /s/ Andrew L. Magaziner
                                                  YOUNG CONAWAY STARGATT & TAYLOR, LLP
                                                  Michael R. Nestor (No. 3526)
                                                  Sean M. Beach (No. 4070)
                                                  Andrew L. Magaziner (No. 5426)
                                                  Rodney Square
                                                  1000 North King Street
                                                  Wilmington, Delaware 19801
                                                  Tel: (302) 571-6600
                                                  Fax: (302) 571-1253
                                                  Email: mnestor@ycst.com
                                                         sbeach@ycst.com
                                                         amagaziner@ycst.com

                                                  -and-

                                                  GIBSON, DUNN & CRUTCHER LLP
                                                  Matthew J. Williams
                                                  David M. Feldman
                                                  Matthew K. Kelsey
                                                  Keith R. Martorana
                                                  Jason Zachary Goldstein
                                                  200 Park Avenue
                                                  New York, New York 10166
                                                  Tel:   (212) 351-4000
                                                  Fax: (212) 351-4035
                                                  Email: mjwilliams@gibsondunn.com
                                                         dfeldman@gibsondunn.com
                                                         mkelsey@gibsondunn.com
                                                         kmartorana@gibsondunn.com
                                                         jgoldstein@gibsondunn.com

                                                  Proposed Counsel to the Debtors and Debtors in
                                                  Possession




01:23475989.1



                                                           8
                Case 18-11780-BLS   Doc 3   Filed 08/02/18   Page 9 of 14



                                     EXHIBIT A

                                PROPOSED ORDER




01:22554977.7
                     Case 18-11780-BLS   Doc 3   Filed 08/02/18   Page 10 of 14



                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


         In re:                                          Chapter 11

         BROOKSTONE HOLDINGS CORP.,                      Case No. 18-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         BROOKSTONE, INC.,                               Case No. 18-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         BROOKSTONE COMPANY, INC.,                       Case No. 18-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         BROOKSTONE RETAIL PUERTO RICO, INC.,            Case No. 18-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         BROOKSTONE INTERNATIONAL HOLDINGS,              Case No. 18-_____ (___)
         INC.,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


01:23475989.1
                     Case 18-11780-BLS   Doc 3   Filed 08/02/18     Page 11 of 14




         In re:                                          Chapter 11

         BROOKSTONE PURCHASING, INC.,                    Case No. 18-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         BROOKSTONE STORES, INC.,                        Case No. 18-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         BIG BLUE AUDIO LLC,                             Case No. 18-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         BROOKSTONE HOLDINGS, INC.,                      Case No. 18-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         BROOKSTONE PROPERTIES, INC.,                    Case No. 18-_____ (___)

                             Debtor.
                                                         Ref. Docket No.
         Tax I.D. No. XX-XXXXXXX




01:23475989.1

                                                 2
                           Case 18-11780-BLS             Doc 3      Filed 08/02/18        Page 12 of 14



                               ORDER DIRECTING THE JOINT ADMINISTRATION
                                   OF THE DEBTORS’ CHAPTER 11 CASES

                   Upon the Debtors’ Motion for Entry of an Order Directing the Joint Administration of

         the Debtors’ Chapter 11 Cases (the “Motion”)1 filed by the above-captioned debtors and debtors

         in possession (collectively, the “Debtors”); and upon consideration of the First Day Declaration;

         and this Court having found that it has jurisdiction to consider the Motion and the relief

         requested therein pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of

         Reference from the United States District Court for the District of Delaware, dated February 29,

         2012; and this Court having found that venue of these cases and the Motion in this district is

         proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that this matter is a

         core proceeding pursuant to 28 U.S.C. § 157(b); and this Court having determined that it may

         enter a final order consistent with Article III of the United States Constitution; and it appearing

         that notice of the Motion has been given as set forth in the Motion and that such notice is

         adequate and no other or further notice need be given; and a hearing having been held to

         consider the relief requested in the Motion; and upon the record of the hearing on the Motion and

         all of the proceedings had before this Court; and this Court having found and determined that the

         relief sought in the Motion is in the best interests of the Debtors, their estates, their creditors and

         all other parties in interest; and that the legal and factual bases set forth in the Motion establish

         just cause for the relief granted herein; and after due deliberation and sufficient cause appearing

         therefor,

                   IT IS HEREBY ORDERED THAT:

                   1.       The Motion is GRANTED as set forth herein.




         1
             Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.
01:23475989.1

                                                                   3
                         Case 18-11780-BLS             Doc 3      Filed 08/02/18        Page 13 of 14



                  2.      The Debtors’ Chapter 11 Cases are consolidated for procedural purposes only and

         shall be jointly administered by this Court.

                  3.      The Clerk of the Court shall maintain one file and one docket for all of the

         Chapter 11 Cases, which file and docket shall be the file and docket for the chapter 11 case of

         Brookstone Holdings Corp., Case No. 18-_____ (____).

                  4.      All pleadings filed in the Chapter 11 Cases shall bear a consolidated caption in the

         following form:

                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE


         In re:                                                              Chapter 11

         BROOKSTONE HOLDINGS CORP., et al.,1                                 Case No. 18-_____ (___)

                                   Debtors.                                  (Jointly Administered)

         1
                  The Debtors, along with the last four digits of each Debtor’s tax identification number, are: Brookstone
         Holdings Corp. (4638), Brookstone, Inc. (2895), Brookstone Company, Inc. (3478), Brookstone Retail Puerto Rico,
         Inc. (5552), Brookstone International Holdings, Inc. (8382), Brookstone Purchasing, Inc. (2514), Brookstone Stores,
         Inc. (2513), Big Blue Audio LLC (N/A), Brookstone Holdings, Inc. (2515), and Brookstone Properties, Inc. (2517).
         The Debtors’ corporate headquarters and the mailing address for each Debtor is One Innovation Way, Merrimack,
         NH 03054.

                  5.      The Clerk of the Court shall make a docket entry in each Debtor’s chapter 11 case

         (except that of Brookstone Holdings Corp.) substantially as follows:

                          An order has been entered in this case directing the procedural
                          consolidation and joint administration of the chapter 11 cases of
                          Brookstone Holdings Corp. (4638), Brookstone, Inc. (2895),
                          Brookstone Company, Inc. (3478), Brookstone Retail Puerto Rico,
                          Inc. (5552), Brookstone International Holdings, Inc. (8382),
                          Brookstone Purchasing, Inc. (2514), Brookstone Stores, Inc.
                          (2513), Big Blue Audio LLC (N/A), Brookstone Holdings, Inc.
                          (2515), and Brookstone Properties, Inc. (2517). The docket in the
                          chapter 11 case of Brookstone Holdings Corp., Case No.
                          18-_____ (___), should be consulted for all matters affecting
                          this case.


01:23475989.1

                                                                 4
                       Case 18-11780-BLS         Doc 3     Filed 08/02/18      Page 14 of 14



                6.      One consolidated docket, one file, and one consolidated service list shall be

         maintained for the Chapter 11 Cases by the Debtors and kept by the Clerk of the Court.

                7.      The Debtors and the Clerk of the Court are authorized to take all actions

         necessary to effectuate the relief granted in this Order in accordance with the Motion.

                8.      Nothing contained in the Motion or this Order shall be deemed or construed as

         directing or otherwise effecting a substantive consolidation of the Chapter 11 Cases.

                9.      This Court shall retain exclusive jurisdiction with respect to all matters arising

         from or related to the implementation of this Order.

         Dated: August ____, 2018
                Wilmington, Delaware


                                                        UNITED STATES BANKRUPTCY JUDGE




01:23475989.1

                                                          5
